           Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 1 of 9



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
HUMAN RIGHTS DEFENSE CENTER, )
                                    )
            Plaintiff               )
                                    )   Civil Action No. 18-1064 (JEB)
            v.                      )   (ECF)
                                    )
BUREAU OF PRISONS                   )
                                    )
            Defendant.              )
____________________________________)

                                             ANSWER

       Defendant Federal Bureau of Prisons (“BOP” or “Defendant”), by and through the United

States Attorney for the District of Columbia, respectfully submits the following Answer and

defenses to the Complaint filed by Human Rights Defense Center (“Plaintiff” or “HRDC”) in the

above-styled action. In support thereof, Defendant states the following:

                                         FIRST DEFENSE

       Defendant reserves the right to amend this Answer to assert any other matter that

constitutes an avoidance or affirmative defense under Federal Rule of Civil Procedure 8(c).

                                       SECOND DEFENSE

       Any relief is limited to that provided for in 5 U.S.C. § 552(a)(4)(B).

                                         THIRD DEFENSE

       As to some or all of the claims asserted in this action, Plaintiff has failed to state a claim

upon which relief may be granted under FOIA.




                                                  1
            Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 2 of 9




                                        FOURTH DEFENSE

       The court lacks subject matter jurisdiction over Plaintiff’s complaint because Defendant

has not improperly withheld information within the meaning of the Freedom of Information Act

(“FOIA”), 5 U.S.C. § 552.

                                          FIFTH DEFENSE

       The FOIA request that is the subject of this lawsuit implicates certain information that is

protected from disclosure by one or more statutory exemptions. Plaintiff is not entitled to

compel the production of records that are exempt from disclosure under FOIA or under other

provisions of law or to compel the production of records that are not subject to FOIA.

                                          SIXTH DEFENSE

       Plaintiff claims are barred by its failure to exhaust administrative remedies.

                                        SEVENTH DEFENSE

       Plaintiff is not entitled to attorney’s fees or costs.

                         RESPONSES TO NUMBERED PARAGRAPHS

       Defendant denies each and every allegation contained in the Complaint except as

hereinafter may be expressly admitted.

       1.      Defendant admits that an action under FOIA is brought under 5 U.S.C. § 552, et

seq. The remainder of the paragraph represents Plaintiff’s conclusion of the law for which no

response is required.




                                                   2
             Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 3 of 9



       2.      This paragraph contains a conclusion of law to which no response is required. To

the extent a response is deemed required, Defendant admits that the Court has jurisdiction subject

to the terms and limitations of FOIA.

       3.      Admit.

       4.      Defendant lacks sufficient knowledge or information to admit or deny the

allegations in paragraph 4.

       5.      Admit.

       6.      Defendant lacks sufficient knowledge or information to admit or deny the

allegations in paragraph 6.

       7.      Defendant lacks sufficient knowledge or information to admit or deny the

allegations in paragraph 7.

       8.      Defendant lacks sufficient knowledge or information to admit or deny the

allegations in paragraph 8.

       9.      Admit.

       10.     Defendant admits that it is responsible for over 183,000 people committed to the

custody of BOP and that it operates 122 institutions throughout the nation. Defendant denies the

remaining allegations of Paragraph 10.

       11.     Admit.

       12.     Deny. Defendant states it operates the Trust Fund Accounting and Commissary

System (“TRUFACS”) to maintain inmate Deposit Fund accounts and Commissary operation.

       13.     Deny. Defendant states that it operates Inmate Telephone System (“TRUFONE”)

for inmates to supplement written correspondence to maintain family and community ties.


                                                3
              Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 4 of 9



        14.     Deny. Defendant states that the Trust Fund Limited Inmate Computer System

(“TRULINCS”) provides inmates with a computer system that does not jeopardize the safety,

security, orderly operation of the correctional facility, or the protection of the public or staff.

        15.     Deny. Defendant states TRULINCS was developed and is maintained by

Advanced Technologies Groups, LLC.

        16.     Admit.

        17.     Deny. Defendant states that it allows inmates in its custody to receive money in

their commissary accounts through the commercial services of MoneyGram and Western Union.

        18.     Deny. Defendant states that when an inmate is released from custody, any funds

remaining in their Deposit Fund account are given to them on a release debit card, with limited

exceptions.

        19.     Deny. Defendant states that JPMorgan Chase was the previous card vendor and,

since June 2017, release debit cards have been issued by Metabank/First Data.

        20.     Defendant lacks sufficient knowledge or information to admit or deny the

allegations in paragraph 20. Defendant states that on or about April 14, 2015, it received a FOIA

request from the Plaintiff dated April 10, 2015, and the request sought information about the BOP

inmate telephone system, inmate electronic messaging services, and payments made to inmates

upon release from the custody of the BOP.

        21.

                i.       Deny. Defendant states the request sought “All contracts or other
                         agreements, including all exhibits, addenda and extensions, between the
                         Federal Bureau of Prisons (BOP) and any provider of telephone services
                         for use by prisoners or other detainees that have been in effect at any time
                         from January 1, 2010 to present.”


                                                   4
Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 5 of 9



  ii.     Deny. Defendant states the request sought “Documents detailing all
          payments made to or on behalf of the BOP from or on behalf of any
          telephone service provider from January 1, 2010 to present.”

  iii.    Deny. Defendant states the request sought “Documents detailing rates for
          telephone calls made by prisoners or other detainees of the BOP that have
          been in effect at any time from January 1, 2010 to present.”

  iv.     Deny. Defendant states the request sought “Documents detailing all fees
          related to use of telephone services by the prisoners or other detainees of
          the BOP that have been in effect at any time from January 1, 2010 to
          present. This request specifically includes all ancillary fees incurred by
          people who accept calls from prisoners or other detainees, including any
          fees related to prepaid phone accounts.”

  v.      Deny. Defendant states the request sought “All contracts or other
          agreements, including exhibits, addenda and extensions, between the BOP
          and any provider of email or electronic messaging services for use by
          prisoners or other detainees that have been in effect at any time from
          January 1, 2010 to present.”

  vi.     Deny. Defendant states the request sought “Records detailing all
          payments made to or on behalf of the BOP from or on behalf of any
          provider of email or electronic messaging services for use by prisoners or
          other detainees from January 1, 2010 to present.”

  vii.    Deny. Defendant states the request sought “Documents detailing rates for
          email or electronic messaging services for use by prisoners or other
          detainees at the BOP that have been in effect at any time from January 1,
          2010 to present.”

  viii.   Deny. Defendant states the request sought “Documents detailing all
          ancillary fees related to email or electronic messaging services for use by
          prisoners or other detainees at the BOP that have been in effect at any time
          from January 1, 2010 present.

  ix.     Deny. Defendant states the request sought “All contracts or other
          agreements, including exhibits, addendums and extensions, between the
          BOP and any provider of services used to transfer funds to people upon
          their release from incarceration by the BOP, that have been in effect at any
          time from January 1, 2010 to present.”




                                   5
             Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 6 of 9



               x.       Deny. Defendant states the request sought “Records detailing all
                        payments made to or on behalf of the BOP from or on behalf of any
                        provider of services used to transfer funds to people upon their release from
                        incarceration by the BOP from January 1, 2010 to present.”

               xi.      Deny. Defendant states the request sought “Documents detailing all
                        ancillary fees related to the transfer of funds to people upon their release
                        from incarceration by the BOP, including but not limited to all cardholder
                        agreements that have been in effect at any time from January 1, 2010 to
                        present.”

               xii.     Deny. Defendant states the request sought “All contracts or other
                        agreements, including exhibits, addenda and extensions, between the BOP
                        and any provider of money transfer services, including but not limited to
                        any services whereby members of the public can send money to prisoners
                        or other detainees for placement on their institutional accounts, that have
                        beer.in effect at any time from January 1, 2010 to present.”

               xiii.    Deny. Defendant states the request sought “Records detailing all
                        payments made to or on behalf of the BOP from or on behalf of any money
                        transfer services provider from January 1, 2010 to present.”

               xiv.     Deny. Defendant states the request sought “Documents detailing all
                        ancillary fees related to money transfer services, including but not limited
                        to fees charged to send money to prisoners or other detainees for placement
                        on their institutional accounts that have been in effect at any time from
                        January 1, 2010 to present.”

       22.     Admit.

       23.     Because Plaintiff avers that the records noted in Paragraph 23 are not the subject of

the lawsuit, a response is not required.

       24.
               i.       Admit.

               ii.      Admit. Defendant avers that the FOIA request sought records from
                        January 1, 2010 to present and the FOIA request was received on or about
                        April 14, 2015, after the retention period for maintaining the records for
                        this period of time expired.




                                                  6
              Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 7 of 9



                iii.     Deny. Defendant states the rates for TRULINCS are $0.05 per minute for
                         public messaging and $0.15 per page to print and that a screen shot was
                         provided to the Plaintiff for the price per TRU-Units.

                iv.      Admit. Defendant states there are no ancillary fees for TRULINCS.

                v.       Admit. Defendant states the BOP’s National Acquisition Section has
                         never been a party to those contracts as those contracts were the
                         responsibility of the Department of Treasury.

                  vi.    Admit. Defendant states The Trust Fund Branch does not pay for debit
                         cards.

        25.     Admit. Defendant states that in response to Plaintiff’s appeal to the Office of

Information Policy, Defendant undertook a subsequent search and located the Statement of Work

and provided the same to staff from the Office of Information Policy. On or about August 21,

2017, the Office of Information Policy released the Statement of Work to the Plaintiff in response

to the Plaintiff’s appeal.

        26.     Admit.

        27.     Deny. Defendant states that on or about August 21, 2017, the Office of

Information Policy responded to Plaintiff’s appeal.

        The remainder of Plaintiff’s Complaint consists of Plaintiff’s conclusions of fact and law

and prayer for relief to which no responses are required. To the extent responses are required,

Defendant denies.

        Defendant denies each and every allegation contained in the Complaint not specifically

admitted above.




                                                 7
          Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 8 of 9



August 13, 2018                     Respectfully submitted,


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                                    United States Attorney
                                    for the District of Columbia

                                    DANIEL F. VAN HORN, D.C. Bar # 924092
                                    Civil Chief

                                    By:       /s/
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                                      8
           Case 1:18-cv-01064-JEB Document 8 Filed 08/13/18 Page 9 of 9



                               CERTIFICATE OF SERVICE

       I certify that I caused a copy of the foregoing Defendant’s Answer to be served upon

Plaintiff’s counsel via ECF.

                                                  /s/
                                            KENNETH ADEBONOJO
                                            Assistant United States Attorney




                                               9
